                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DAVID ALAN CARMICHAEL, et al.,                    :
                                                  :
       Plaintiffs,                                :       Civil Action No.:       19-2316 (RC)
                                                  :
       v.                                         :       Re Document No.:        99
                                                  :
ANTONY J. BLINKEN, in his official                :
capacity as Secretary of State, et al.,           :
                                                  :
       Defendants.                                :

                                              ORDER

       On July 2, 2021, Defendants Michael R. Pompeo, in his official capacity as Secretary of

State, and the United States of America (“Defendants”) filed a motion to dismiss or, in the

alternative, for summary judgment. See ECF No. 99. Under Local Civil Rule 7(b), if any party

fails to file a response to a motion within the prescribed time, “the Court may treat the motion as

conceded.” D.D.C. Civ. R. 7(b). In Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988) (per

curiam), the D.C. Circuit held that a district court must take pains to advise a pro se party of the

consequences of the failure to respond to a dispositive motion. See also Neal v. Kelly, 963 F.2d

453, 456 (D.C. Cir. 1992). “That notice . . . should include an explanation that the failure to

respond . . . may result in the district court granting the motion and dismissing the case.” Fox,

837 F.2d at 509.

       The Court hereby advises Mr. Carmichael, Mr. Lewis, and Mr. Pakosz (“Plaintiffs”) of

their obligations under the Federal Rules of Civil Procedure and the Local Civil Rules. If

Plaintiffs fail to submit a memorandum responding to Defendants’ motion, the Court may treat

the motion as conceded, grant the motion, and dismiss their case. If Plaintiffs comply with their

obligations under the Federal and Local Rules, they are advised that when the Court rules on
Defendants’ motion, it will take into consideration the facts proffered by Plaintiffs in the

complaint, along with their response or opposition to Defendants’ motion.

       Accordingly, it is hereby ORDERED that Plaintiffs shall respond to Defendants’ motion

to dismiss or, in the alternative, for summary judgment on or before August 20, 2021. If

Plaintiffs neither respond nor move for an extension of time by that date, the Court may treat the

motion as conceded and dismiss Plaintiffs’ complaint.

       SO ORDERED.


Dated: July 6, 2021                                                 RUDOLPH CONTRERAS
                                                                    United States District Judge




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